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                                                                                                   Tanner Philp
                                                                                                        2/5/2020

 1         UNITED STATES DISTRICT COURT                         1 APPEARANCES:
 2        SOUTHERN DISTRICT OF NEW YORK                         2
 3                                                              3   For Plaintiff:
 4 UNITED STATES SECURITIES AND )
   EXCHANGE COMMISSION,               )
                                                                4       U.S. SECURITIES AND EXCHANGE COMMISSION
 5                    )                                         5       DIVISION OF ENFORCEMENT
          Plaintiff,     )                                      6       100 F Street N.E.
 6                    ) Case No.                                7       Washington, DC 20549
   vs.                  ) 19-cv-5244(AKH)                       8       202.551.4418
 7                    )
                                                                9       BY: STEPHAN J. SCHLEGELMILCH, ESQ.
   KIK INTERACTIVE INC.,           )
 8                    )                                        10          DAVID S. MENDEL, ESQ.
          Defendant.        )                                  11          LAURA D'ALLAIRD, ESQ.
 9 _____________________________)                              12
10                                                             13   For Defendant:
11
                                                               14       COOLEY LLP
12
13                                                             15       3175 Hanover Street
14                                                             16       Palo Alto, California 94304
15     30(B)(6) DEPOSITION OF KIK INTERACTIVE INC.             17       650.843.5535
16           DESIGNEE: TANNER PHILP                            18       BY: PATRICK E. GIBBS, ESQ.
17            Palo Alto, California                            19          JENNA BAILEY, ESQ.
18          Wednesday, February 5, 2020
19                                                             20          BRETT DE JARNETTE, ESQ.
20                                                             21
21                                                             22   Also Present:
22 Reported by:                                                23       FRANK QUIRARTE, Videographer
23 JANIS JENNINGS                                              24
24 CSR No. 3942, CLR, CCRR
25 Job No. 200205JJE                                           25

                              1                                                       3

 1                                                              1               INDEX
 2                                                              2
 3                                                              3 WITNESS                       EXAMINATION
 4                                                              4 30(b)(6) Kik Interactive Inc.
 5                                                              5 Designee: Tanner Philp
 6                                                              6
 7          VIDEOTAPED DEPOSITION OF TANNER PHILP, taken        7
 8   on behalf of the Plaintiff, at Cooley LLP, 3175 Hanover    8
 9   Street, Palo Alto, California, beginning at 9:13 a.m.      9            BY MR. SCHLEGELMILCH         7
10   on Wednesday, February 5, 2020, before Janis Jennings,    10
11   Certified Shorthand Reporter No. 3942, CLR, CCRR.         11
12                                                             12
13                                                             13
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 1                   EXHIBITS                                1          MR. GIBBS: Patrick Gibbs from Cooley on
 2                                                           2   behalf of Kik and the witness.
 3    EXHIBIT       DESCRIPTION                 PAGE         3          MS. BAILEY: Jenna Bailey from Cooley on
 4    Exhibit 260 Summary of provincial information - 17     4   behalf of Kik and the witness.
 5             provincial income tax payable;                5          MR. DE JARNETTE: Brett De Jarnette from
 6             KIK_00147721                                  6   Cooley on behalf of Kik and the witness.
 7    Exhibit 261 Five-Year Comparative Study;       21      7          THE VIDEOGRAPHER: Madam Court Reporter,
 8             KIK_00147723                                  8   will you please swear in the witness.
 9    Exhibit 262 Federal Corporation Information for 27     9
10             Code Inc.; 3 pages                           10                TANNER PHILP,
11    Exhibit 263 Statement Summary as of 9/29/17; 35       11         the witness herein, was sworn and
12             SEC-SILVERGATE-E-0000217 - 303               12         testified as follows:
13    Exhibit 264 Moving Forward Boldly with Kin - 54       13
14             Ted Livingston - Medium; 3 pages             14          MR. SCHLEGELMILCH: During the read-in I
15    Exhibit 265 Services Agreement;            59         15   think the court reporter mentioned that it was
16             KIK_00147202 - 210                           16   noticed by the defendant. This is a deposition that
17    Exhibit 266 Agency Agreement;               61        17   was noticed by the plaintiff, if it matters, just to
18             KIK_00147211 - 147218                        18   make sure that that's accurate.
19    Exhibit 267 GitHut webpage Kin Improvement       70   19
20             Proposal - KRE V2.0                          20                EXAMINATION
21    Exhibit 268 Services Agreement             74         21   BY MR. SCHLEGELMILCH:
22             (with signatures)                            22      Q. Good morning, Mr. Philp. My
23    Exhibit 269 Agency Agreement;               78        23   understanding -- and I'm just going to ask that you
24             (with signatures)                            24   confirm this for the record -- is that Kik
25                                                          25   Interactive has selected you to be its designee

                                5                                                        7

 1   PALO ALTO, CALIFORNIA; WEDNESDAY, FEBRUARY 5, 2020      1   during this deposition of Kik Interactive, which the
 2             9:13 A.M.                                     2   SEC is conducting pursuant to Federal Civil Rule
 3                                                           3   30(b)(6); is that correct?
 4         THE VIDEOGRAPHER: Good morning, ladies and        4      A. That's correct.
 5   gentlemen. This begins Volume I, media number 1 in      5      Q. I suspect you know all this, but I'll just
 6   the deposition of Tanner Philp. It's in the matter      6   run through some of the ground rules for this
 7   of the United States Securities and Exchange            7   deposition. The first is that you need to answer
 8   Commission versus Kik Interactive Inc. It's being       8   orally. Is that okay?
 9   held in the United States District Court for the        9      A. Yep.
10   Southern District of New York, case number             10      Q. Good -- good job right there. You and I
11   19-CV-5244.                                            11   need to take pains to not talk over each other.
12         Today's date is February 5th, 2020. The          12      A. Yep.
13   time on the record is approximately 9:13 a.m. My       13      Q. And that's good. Wait a couple seconds to
14   name is Frank Quirarte. I'm your legal video           14   make sure I'm done, and I'll try to do the same for
15   operator today, contracted by Gradillas Court          15   you.
16   Reporters. This video deposition is taking place at    16      A. Yep.
17   3175 Hanover Street in Palo Alto, California and was   17      Q. And you need to let me know if I ask you a
18   noticed by the defendant.                              18   question that doesn't make any sense or uses jargon
19         At this time will counsel and all present        19   in a way that's -- that's inaccurate or you don't
20   please identify yourself for the record.               20   understand, because that's the only way I can fix it
21         MR. SCHLEGELMILCH: Sure.                         21   is if you let me know. Is that okay?
22   Stephan Schlegelmilch for the SEC.                     22      A. Sounds good.
23         MR. MENDEL: David Mendel for the SEC.            23      Q. Okay. None of my questions this morning are
24         MS. D'ALLAIRD: Laura D'Allaird for the           24   intended to reach conversations you've had with
25   SEC.                                                   25   counsel, and so if you think I've asked something

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 1   that goes over the line, just let me know, and we'll    1   Counsel.
 2   see if I can fix it.                                    2      Q. I see.
 3      A. Great.                                            3         Is Ms. Lyon -- is it "Lyons" or "Lyon"?
 4      Q. I typically take a break every hour. If you       4      A. Lyon.
 5   would like to take a break more frequently than         5      Q. Okay. Singular?
 6   that, it's fine by me. I would just ask that we not     6      A. Singular; no "s."
 7   do it when a question is pending. Sound okay?           7      Q. Is Ms. Lyon also the general counsel of the
 8      A. Sounds great.                                     8   Kin Foundation?
 9      Q. Great.                                            9      A. No.
10          How many employees does Kik have at the         10      Q. Had she been?
11   moment?                                                11      A. No.
12      A. 18.                                              12      Q. Okay. Was she the secretary of the Kin
13      Q. And how many did it have on January 1st of       13   Foundation?
14   this year?                                             14      A. My understanding is that she's the
15      A. 2020?                                            15   secretary.
16      Q. Yes, sir.                                        16      Q. Currently?
17      A. 18.                                              17      A. Yes.
18      Q. Okay. Same number; right? It's only been a       18      Q. Okay.
19   month. What about January 1st, 2019?                   19         MR. GIBBS: Just -- just -- I won't do this
20      A. 155.                                             20   unnecessarily, but as a general matter, in our view,
21      Q. Okay. Are you a Kik employee?                    21   questions about the internal structure and workings
22      A. I am.                                            22   of the Kin Foundation are not within the scope of
23      Q. Are you an employee of any other entity?         23   what the Court ordered. I'm perfectly happy to have
24      A. No.                                              24   Mr. Philp answer to the best of his own knowledge,
25      Q. Are any of the 18 Kik employees also             25   but I don't think that's within the scope of what

                            9                                                          11

 1   employees of other entities -- for example, the Kin     1   the Court has ordered Kik to produce a witness for.
 2   Foundation?                                             2          MR. SCHLEGELMILCH: Okay. I'm inquiring
 3     A. They are not.                                      3   about whether there are -- whether Kik employees
 4     Q. Is Mr. Livingston still the CEO of Kik?            4   have other responsibilities, and so I view that as
 5     A. He is.                                             5   within bounds, but we can agree to disagree about
 6     Q. And he's also a director of the Kin                6   that. And if you're willing to let the witness
 7   Foundation?                                             7   answer, then we can table this -- this dispute for
 8     A. He is.                                             8   another time.
 9     Q. Does Kik have any officers?                        9          MR. GIBBS: I agree. And, more generally --
10     A. Yes.                                              10   I forgot to do this at the outset -- but before we
11     Q. Okay. Who is Kik's CFO?                           11   went on the record, you and I had a discussion about
12     A. Kik does not have a CFO.                          12   scope objections, and I believe we agreed that
13     Q. Okay. Why don't we do this another way.           13   objections about whether or not certain questions
14   Why don't you tell me what officers Kik has.           14   are within the scope of what the Court ordered will
15     A. Ted Livingston, Chief Executive Officer.          15   be reserved.
16     Q. Okay.                                             16          So I don't need to make them here on the
17     A. Eileen Lyon, Chief Compliance Officer; and        17   record. We can assert them later if and when
18   Mike Roberts, Chief Technology Officer.                18   there's a question about whether a question and an
19     Q. Okay. So Kik does not currently have a CFO?       19   answer is within the scope and properly deemed
20     A. No.                                               20   corporate testimony.
21     Q. It doesn't have a COO?                            21          MR. SCHLEGELMILCH: Agreed.
22     A. It does not.                                      22          MR. GIBBS: Okay. I just thought I would
23     Q. And does it have a general counsel, or is         23   convey to you our position about the distinction
24   that Ms. Lyon as well?                                 24   between the Foundation and the company, but with
25     A. She is Chief Compliance Officer and General       25   that...

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 1           MR. SCHLEGELMILCH: I understand your          1    A. Yes.
 2   position.                                             2    Q. Is that a former Kik employee?
 3           MR. GIBBS: Okay.                              3    A. Yes.
 4   BY MR. SCHLEGELMILCH:                                 4    Q. Was that -- is that a man or woman?
 5      Q. At present do any of Kik's employees work in    5    A. A man.
 6   the United States?                                    6    Q. Was he a Kik employee in 2019?
 7      A. Yes.                                            7    A. I do not believe so.
 8      Q. Who?                                            8    Q. Okay. When was the last --
 9      A. Eileen Lyon.                                    9    A. My recollection was it was towards the end
10      Q. She's a -- I'm sorry.                          10 of 2018 that he left.
11      A. Sorry.                                         11    Q. What about Hadar Landau?
12      Q. I'm going to not cut you off.                  12    A. She was a former Kik employee.
13      A. No, no. You have a clarifying question. Go     13    Q. Okay. Was she a Kik employee in 2019?
14   for it.                                              14    A. She was.
15      Q. I -- I don't. So Ms. Lyon works in the         15    Q. Osnat Lidor?
16   United States?                                       16    A. Yes.
17      A. Yes.                                           17    Q. Is that -- that's a she, is it not?
18      Q. Who else?                                      18    A. Yes. It's a woman.
19      A. Matthew Hibberd.                               19    Q. And she is no longer a Kik employee?
20      Q. And that's H-i-b-b-e-r-t?                      20    A. Correct.
21      A. -e-r-d.                                        21    Q. But she was in 2019?
22      Q. -e-r-d. Thank you.                             22    A. She was.
23      A. Kevin Ricoy, R-i-c-o-y.                        23    Q. Okay. She had a role in marketing or --
24      Q. Yep.                                           24    A. Correct.
25      A. Jack Roberts and Chase Barker.                 25    Q. Okay. Alex Cohen?

                          13                                                         15

 1   Q. And these are all Kik employees?                   1      A. Yes.
 2   A. They are.                                          2      Q. Is that a former Kik employee or a current
 3   Q. Okay. Ms. Lyon, she resides in -- or she           3   Kik employee?
 4 works outs of California, does she not?                 4      A. Former Kik employee.
 5   A. Los Angeles.                                       5      Q. Okay. Where was he located?
 6   Q. What about Mr. Hibberd?                            6      A. Israel, Tel Aviv.
 7   A. San Francisco.                                     7      Q. Okay. And he was a Kik employee in 2019?
 8   Q. Mr. Ricoy?                                         8      A. Yes.
 9   A. Washington, D.C.                                   9      Q. Okay. Does Kik have any business units or
10   Q. Okay. Mr. Roberts?                                10   divisions?
11   A. New York City.                                    11      A. Kik has multiple subsidiaries.
12   Q. Do you know which borough?                        12      Q. Okay.
13   A. He is in Manhattan.                               13      A. There's Kik Interactive, which is where all
14   Q. Thank you.                                        14   Canadian employees are employed out of. There is
15      And Mr. Barker?                                   15   Kik U.S. All of the U.S. employees which I
16   A. He works out of Charleston.                       16   mentioned previously are through Kik U.S.
17   Q. South Carolina?                                   17      Q. Okay.
18   A. Yes.                                              18      A. There's a subsidiary Kik Israel. There are
19   Q. It could be West Virginia.                        19   no longer any employees under Kik Israel. And there
20   A. Yeah.                                             20   is another subsidiary that was recently set up, Code
21   Q. What is Mr. Ricoy's title at Kik?                 21   Inc.
22   A. Communications manager.                           22      Q. Okay. And that is a subsidiary?
23   Q. Okay. Are you familiar with somebody              23      A. Yes.
24 named -- and forgive me if I mispronounce this --      24      Q. Does Code Inc. have any employees?
25 Ulyoel Rivlas?                                         25      A. No.

                          14                                                         16

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 1          MR. SCHLEGELMILCH: Okay. Let me hand you         1   conversational.
 2   what we will mark as Exhibit 260.                       2         MR. SCHLEGELMILCH: I think that would
 3          (Exhibit 260 marked for identification.)         3   probably make Patrick happy too.
 4          THE WITNESS: It's a wide table. You can          4   BY MR. SCHLEGELMILCH:
 5   throw it.                                               5      Q. Some of these entities we've talked about;
 6          MR. GIBBS: He doesn't want to do that on         6   some of them we haven't. And I just wanted to run
 7   videotape. It doesn't look good.                        7   through them quickly.
 8          THE WITNESS: If it goes wide, yeah.              8         So Kik Interactive we've talked about;
 9          MR. SCHLEGELMILCH: I can give it to              9   correct?
10   Patrick, though.                                       10      A. Yes.
11   BY MR. SCHLEGELMILCH:                                  11      Q. That's Kik's Canadian operation?
12      Q. Okay. What I just handed you is an excerpt       12      A. Correct.
13   of a -- what appears to me, and I'm not a Canadian     13      Q. What is Endemic Mobile Inc.?
14   tax expert by any means -- but it looks like a         14      A. That was a previous subsidiary that was
15   portion of Kik's 2018 tax return?                      15   consolidated.
16      A. Yep.                                             16      Q. So it no longer exists?
17      Q. And, just for the record, it is                  17      A. Correct.
18   Bates-labeled KIK_00147721. And, again, this is        18      Q. Okay. What about 9108041 Canada Inc.?
19   just one page of a very lengthy tax return document.   19      A. That is a -- there are three numbered
20          My -- my question --                            20   companies on here.
21          MR. MENDEL: Did we say on the record what       21      Q. Yes.
22   the exhibit label number is?                           22      A. One of those -- and I can't recall which
23          MR. SCHLEGELMILCH: I did. It's -- it's          23   one, because they're all numbered companies -- is a
24   260.                                                   24   holding company for employee shares, and I'm not
25          MR. MENDEL: Thank you.                          25   sure which one of them it is, so it could be that

                           17                                                          19

 1         MR. SCHLEGELMILCH: It's Exhibit 260.              1   one.
 2         MR. MENDEL: Sorry if I --                         2      Q. Okay. And there -- you said there were
 3         MR. SCHLEGELMILCH: No, no. It's fine.             3   three -- there are on the exhibit --
 4         THE WITNESS: I heard it too.                      4      A. Yes.
 5         MR. SCHLEGELMILCH: See?                           5      Q. -- three numbered entities. Do they all do
 6   BY MR. SCHLEGELMILCH:                                   6   the same thing?
 7      Q. If you look down at the -- at the bottom of       7      A. Only one of them exists today. The other
 8   this page --                                            8   two have been consolidated.
 9      A. Yep.                                              9      Q. Okay. Do the numbers have meaning?
10      Q. -- there are what appear to me to be a list      10      A. In Ontario when you first incorporate you'll
11   of entities --                                         11   be assigned a numbered company, and then you can
12      A. Yes.                                             12   choose to submit a new name. So these were not
13      Q. -- Kik Interactive, Endemic Mobile Inc. My       13   renamed.
14   question is -- is can we just -- some of these we've   14      Q. Terrific. Thank you.
15   already discussed.                                     15         Kik U.S. we've talked about. That's Kik's
16      A. Yes.                                             16   U.S. operation?
17      Q. We've already explained what they are. And       17      A. Yes.
18   the ones that we haven't, I would just like --         18      Q. Snowball Labs Inc.?
19         DEPOSITION REPORTER: Excuse me. Can you          19      A. That was another subsidiary that didn't have
20   let him finish the question before responding.         20   any operations or assets and was consolidated.
21         THE WITNESS: Oh, sorry.                          21      Q. Okay. Kik Interactive Inc.?
22         MR. SCHLEGELMILCH: And I'm probably talking      22      A. Likewise, was another subsidiary, didn't
23   too quickly anyway.                                    23   have any assets or operations and was consolidated.
24         DEPOSITION REPORTER: Thank you.                  24      Q. Okay. And Kik Interactive Israel, we talked
25         THE WITNESS: Sorry. I'll be less                 25   about that was its Israeli operation?

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 1      A. Yes.                                              1      Q. It did not what?
 2      Q. And that has been shut down?                      2      A. Have a positive net income.
 3      A. There are no longer any employees. It is          3      Q. Okay. What was the amount of the negative
 4   still an active subsidiary.                             4   net income?
 5      Q. I see. Thank you.                                 5      A. The -- I don't recall the specific number.
 6          MR. SCHLEGELMILCH: Let me hand you what          6   I believe it was close to the 2017 number of
 7   we'll mark as Exhibit 261.                              7   negative 35 million.
 8          (Exhibit 261 marked for identification.)         8      Q. Okay. Does Kik have any revenue at present?
 9          MR. SCHLEGELMILCH: See? That's why I             9      A. It has some revenue through the sale to
10   should have handed it to the court reporter.           10   MediaLab.
11   BY MR. SCHLEGELMILCH:                                  11      Q. The sale of the Messenger app?
12      Q. This is another page of Kik's 2018 tax           12      A. Yes.
13   return, and what -- there's just one line that I'd     13      Q. Outside of the sale of the -- well, I don't
14   like to ask you about, the net income line.            14   know whether this is a document that you brought
15      A. Yep.                                             15   with or are willing to mark, but does the sale of
16      Q. So just so that I understand, Kik lost           16   the Messenger app to MediaLab allow -- does it --
17   $1.8 million for the fiscal year ending 2014 --        17   does it require MediaLab to remit funds to Kik on a
18   August 26, 2014; is that correct?                      18   sort of ongoing basis, or was it a lump sum?
19      A. Correct.                                         19      A. It was not a lump sum. It was structured as
20      Q. The next year it lost $14 million in the         20   a nonexclusive license for IP, and there was a
21   year ending June 30, 2015?                             21   $1 million payment made on October -- in
22      A. Correct.                                         22   October 2019 and then ten subsequent payments of
23      Q. The following year, on June 30, 2016, it         23   $450,000 per month.
24   lost $25 million?                                      24      Q. So in August of 2020 those payments will
25      A. Yes.                                             25   stop?

                           21                                                          23

 1       Q. In 2017, on June 30th of 2017, it was -- it      1      A. Correct.
 2   was negative. It lost $35 million?                      2      Q. Other than the revenue from MediaLab, does
 3       A. Correct.                                         3   Kik have any other revenue?
 4       Q. But in 2018, on June 30, 2018, it had a net      4      A. At present, no.
 5   income of $93 and a half million?                       5      Q. Okay. Forgive me if I asked this already,
 6       A. Correct.                                         6   but is Kik still a private Canadian corporation?
 7       Q. And that is due, is it not, to the sale of       7      A. It is.
 8   the Kin token?                                          8      Q. And at present are all of Kik's operations
 9       A. It is the sale of SAFTs --                       9   in one -- let me ask a better question. Outside of
10       Q. Okay.                                           10   the office in Waterloo, does Kik have any other
11       A. -- under the presale for the Kin token, and     11   office space?
12   it is the sale of ether that Kin -- that Kik took in   12      A. Kik has a small office space in Toronto as
13   through the public sale of Kin tokens.                 13   well.
14       Q. Okay. I see.                                    14      Q. Okay. And can you provide me with -- well,
15           And these are reported in Canadian dollars?    15   let me ask it this way. What is Kik's current
16   I don't know that it -- that it says. I'm just --      16   office space address in Waterloo?
17       A. I believe it is U.S. dollars.                   17      A. 151 Charles Street East. It's actually in
18       Q. Okay. Thank you.                                18   Kitchener now. We've moved.
19           In the year that ended June 30, 2019, did      19      Q. Okay. Is that near Waterloo?
20   Kik make a -- have a positive net profit or net        20      A. Yeah. It's right next to it.
21   income -- because we are talking about net income      21      Q. Okay. But it has no office space in the
22   here -- or negative net income?                        22   United States?
23       A. Fiscal year ending June 2019?                   23      A. No. All of the U.S. employees are remote
24       Q. Yes, sir.                                       24   workers.
25       A. It did not.                                     25      Q. They work from their personal homes?

                           22                                                          24

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 1      A. Correct.                                         1   Kik's board of directors?
 2      Q. How many -- how many employees are in            2     A. At present Ted Livingston, Fred Wilson, and
 3   Toronto?                                               3   Jim Estill.
 4      A. There are five employees in Toronto.             4     Q. Mr. Holland is no longer a member of the
 5      Q. Okay. And about how many employees are in        5   board?
 6   Waterloo -- or Kitchener?                              6     A. He's not.
 7      A. Six employees in Kitchener.                      7         MR. SCHLEGELMILCH: Oh, yeah. Thank you,
 8      Q. Okay. Who or what are Kik's shareholders at      8   David.
 9   present? And -- and let me -- let me just qualify      9   BY MR. SCHLEGELMILCH:
10   this. My expectation is that there are a number of    10     Q. You mentioned Yuriy and Andre?
11   employee benefit plans that include either options    11     A. Yes.
12   or equity to sharehold- -- to employees.              12     Q. What -- what percentage do they own? I
13      A. Uh-huh.                                         13   know -- I know that you said that it was more than 1
14      Q. I'm not interested in those. What I'm           14   percent, but I don't know if you -- if you have a
15   looking for are the larger -- larger shareholders,    15   specific percentage.
16   the nonemployee shareholders.                         16     A. I believe Yuriy is 2 to 2.5 percent, in that
17      A. Perfect. I can give you a summary of anyone     17   range; and Andre, I believe, is around 1.5 percent.
18   who has above 1 percent ownership stake if it would   18         MR. SCHLEGELMILCH: Thank you.
19   be helpful.                                           19         I will hand you what we'll mark as 262.
20      Q. That would be terrific.                         20         (Exhibit 262 marked for identification.)
21      A. Great.                                          21         THE WITNESS: Nice.
22      Q. Thank you. That's exactly what I'm looking      22         MR. SCHLEGELMILCH: I'm getting better.
23   for.                                                  23   BY MR. SCHLEGELMILCH:
24      A. Perfect. So the employee pool, just to          24     Q. This purports to be an incorporation
25   qualify that, accounts for 10 percent, so those       25   document for Code Inc.; is that correct?

                           25                                                         27

 1   would be all the employees that have options. And      1     A. Yes.
 2   then moving up from that, there are a few early        2     Q. Have you ever seen this document before?
 3   employees who have above 1 percent. One would be       3     A. Yes.
 4   Yuriy Blokhin. Another one would be Andre. His         4     Q. Okay. And I believe you said that Code Inc.
 5   last name is complicated, but it's --                  5   was incorporated -- well, I don't know if you did
 6      Q. I have a complicated last name.                  6   say when Code Inc. was incorporated. Can you tell
 7      A. Yours is actually easier to pronounce.           7   me when Code Inc. was incorporated?
 8         Chris Best, who is Ted's co-founder, has         8     A. October 17, 2019, according to this
 9   roughly 3 and a half percent. Peter Heinke has         9   document.
10   about 3 and a half percent ownership.                 10     Q. Okay. What was the purpose of incorporating
11   Ted Livingston has 31 percent. And then in terms of   11   Code Inc.?
12   the entities that are shareholders, Union Square      12     A. After the sale of Kik Messenger, Kik Inc.
13   Ventures, Spark Capital and Tencent all have          13   has begun work on a new application. And at some
14   4.68 percent ownership.                               14   point it will need to have a new name, because it
15      Q. Okay.                                           15   would not make sense to be called "Kik," the
16      A. RRE Ventures has roughly 7.5 percent            16   company, because Kik Messenger is now owned by
17   ownership. Foundation Capital and Valiant Capital     17   MediaLab, so we set up "Code Inc." as a potential
18   both have roughly 3.5 percent ownership. And then     18   name for the company. It is generic enough that it
19   Rounds has roughly 2.5 percent ownership. That came   19   has some flexibility.
20   through the acquisition of Rounds, which was the      20     Q. Okay. What is the new app that Kik is
21   Israeli company that we bought in 2016.               21   working on?
22      Q. Is there anyone else?                           22     A. Kik is working on a wallet app for Kin.
23      A. Those would be the major shareholders.          23     Q. What would that -- what would the Wallet app
24      Q. That's perfect. Thank you very much.            24   do? Like, I know that wallet apps are ubiquitous.
25         Who -- at present who are the members of        25   There are a lot of them.

                           26                                                         28

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 1      A. Uh-huh.                                           1   start at any specific point?
 2      Q. What -- what would differentiate Kik's            2      A. There is not a specific start date.
 3   Wallet app from other wallet apps?                      3      Q. Do you know why they've not started?
 4      A. Very simply the Wallet app will send -- be        4      A. My understanding is that they are still
 5   able to send and receive and store Kin. What it's       5   working through logistics of that as well as have
 6   used for remains to be seen. There are a number of      6   some questions around how to do that effectively
 7   different opportunities for go-to-market, but it        7   from a legal front.
 8   would be used within the Kin ecosystem broadly.         8      Q. Okay. Did the consideration from a sale of
 9      Q. Okay. And I think you said this earlier.          9   the app get deposited into Kik's general ledger,
10   Forgive me if I -- if I'm making you say it again.     10   its -- its...
11   Code Inc. doesn't have any employees currently?        11      A. Yes.
12      A. No.                                              12      Q. Other than the app, which you've talked
13      Q. Have any of Kik's assets been transferred to     13   about, does Kik have any other products or services
14   the subsidiary?                                        14   that it offers?
15      A. No.                                              15      A. Kik Inc.?
16      Q. Other than the app that you described, does      16      Q. Yes, sir.
17   Code Inc. do anything else?                            17      A. No.
18      A. No.                                              18      Q. Does it have anything in the works, anything
19      Q. Does it have office space?                       19   that it's working on other than the app?
20      A. No.                                              20      A. It's working on a wallet app, as I mentioned
21      Q. Okay. Turning back to Kik's sale of the          21   previously.
22   Messenger app to MediaLab, can you just remind me      22      Q. In addition to the wallet app, is there
23   again. That was in October of 2019?                    23   anything?
24      A. Yes.                                             24      A. No.
25      Q. And is MediaLab currently operating the          25      Q. Okay. Thank you.

                           29                                                          31

 1   Messenger app?                                          1         Is it fair to say that the cash that Kik is
 2       A. Yes.                                             2   spending today includes the cash that Kik received
 3       Q. And the consideration that was paid to Kik       3   in the 2017 token sale?
 4   pursuant to the agreement, just to make sure I have     4      A. Yes.
 5   it right, was a million-dollar lump sum plus 4 --       5      Q. And so Kik is using the cash it received
 6   $400,000 per month for ten months?                      6   from the token sale to pay salaries and otherwise
 7       A. $450,000 per month for ten months --             7   fund its operations?
 8       Q. Thank you.                                       8      A. Yes.
 9       A. -- for a total of 5.5 million U.S. dollars.      9      Q. How much cash on hand does Kik have at
10       Q. That was my next question.                      10   present?
11          Did the sale of the app include any Kik         11      A. $16,100,000.
12   employees that went with the app?                      12      Q. And that includes all -- any cash held by
13       A. No.                                             13   any subsidiary?
14       Q. Did the terms of the agreement include          14      A. Correct.
15   anything regarding Kin?                                15      Q. We understand from prior testimony that Kik
16       A. There was a side letter outside of the asset    16   received ETH during the token offering. That's
17   purchase agreement.                                    17   correct; right?
18       Q. What was in the side letter?                    18      A. Correct.
19       A. The side letter stated that MediaLab would      19      Q. And we also understand that Kik began to
20   purchase $100,000 worth of Kin for 15 months -- so     20   liquidate its holdings of ETH?
21   for a total of $1.5 million worth of Kin -- from the   21      A. Yes.
22   open market, not from Kik.                             22      Q. Is that liquidation complete?
23       Q. Is MediaLab doing that?                         23      A. No.
24       A. They have not started purchasing Kin.           24      Q. Okay. How much ETH does Kik still hold?
25       Q. When -- does the side letter require them to    25      A. 1800 ETH.

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 1      Q. When Kik converted some of the ether to fiat     1      A. A TD account, as well as a small bank
 2   currency, it was to U.S. dollars?                      2   account with Your Neighborhood Credit Union was
 3      A. Yes.                                             3   recently set up.
 4      Q. And the U.S. dollars that Kik received in        4      Q. Is that a Canadian credit union?
 5   exchange for ether, those were held in the same        5      A. Yes.
 6   accounts as the cash that Kik received for the 2017    6      Q. Does Kik no longer own the Silvergate
 7   token sale; correct?                                   7   account?
 8      A. Can you define the 2017 token sale, just so      8      A. It does not.
 9   we're --                                               9      Q. Okay. And so it's just those two, TD and
10      Q. Sure. Of course.                                10   Your Neighborhood Credit Union?
11         So we -- my understanding -- and you should     11      A. Yes.
12   tell me if I get it wrong -- my understanding is      12      Q. And so the sum that you indicated earlier,
13   that Kik sold tokens pursuant to the SAFT agreement   13   the 16.1 million, that includes all moneys held at
14   for cash.                                             14   both accounts?
15      A. Yes.                                            15      A. Yes.
16      Q. And so my question is -- and it sold tokens     16      Q. How many payments -- just to back up, how
17   to the general public for ether; right?               17   many payments of 450,000 has MediaLab already made
18      A. Yes.                                            18   to Kik?
19      Q. My question is: Is the ether that Kik           19      A. Three.
20   received for the general public sales -- some of it   20         MR. SCHLEGELMILCH: Let me hand you what
21   has been converted to cash?                           21   we'll mark as 263. Let me mark it first.
22      A. Yes.                                            22         (Exhibit 263 marked for identification.)
23      Q. Has that cash, that converted cash, been        23   BY MR. SCHLEGELMILCH:
24   sort of held in the same accounts that Kik held --    24      Q. These purport to be Silvergate bank records
25   holds the cash it received from the token offering?   25   for Kik Interactive Inc. They are Bates-stamped

                           33                                                         35

 1      A. The proceeds from the sale of SAFT?              1   SEC-SILVERGATE-E-0000217 through 303.
 2      Q. Yes, sir.                                        2        Have you ever seen these documents before?
 3      A. Those were deposited into a TD account --        3     A. Yes.
 4      Q. Okay.                                            4     Q. Okay. Great.
 5      A. -- Toronto-Dominion Bank, and the cash           5        Are these, in fact, statements for Kik's
 6   received from the conversion of ETH to U.S. dollars    6   account at Silvergate?
 7   was held in a Silvergate Bank account.                 7     A. Yes.
 8      Q. And we can look at it, but a number of           8     Q. And this was an account that Kik owned and
 9   transfers from the Silvergate account to other Kik     9   controlled; correct?
10   entities occurred; correct?                           10     A. Yes.
11      A. Correct.                                        11     Q. And it was not an account owned or
12      Q. So Kik has used the money held in Silvergate    12   controlled by the Kin Foundation?
13   to fund its operations?                               13     A. Correct.
14      A. Yes.                                            14     Q. Can you take a look at the page -- the Bates
15      Q. In total in U.S. dollars, how much did Kik      15   stamps, it's 283. And, again, your copy is
16   receive in exchange for the ETH it received in the    16   double-sided --
17   token sale?                                           17     A. Okay.
18      A. 59 million U.S. dollars.                        18     Q. -- so I can't tell you which side of the
19      Q. And that does not include or does it include    19   page it's going to be on.
20   the 1800 ETH that Kik still holds?                    20     A. Got it.
21      A. It does not include that.                       21     Q. Okay. About the middle of the page on May
22      Q. Okay. So it's 59 million U.S. dollars plus      22   the 13th of 2019, there's a payment to
23   1800 ETH?                                             23   James Weatherman. Do you see that?
24      A. Correct.                                        24     A. Yes.
25      Q. What bank accounts does Kik own at present?     25     Q. Mr. Weatherman is an app developer who won

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 1   an award from the Kin Foundation for integrating Kin    1       Q. And if you look on the next page, 288, there
 2   into his app; correct?                                  2   are $5,000 payments to Tinashe Khumbula --
 3      A. Correct.                                          3       A. Yes.
 4      Q. Did the Kin Foundation -- if you know, did        4       Q. -- Jim Ramia, and Kierian Technologies
 5   the Kin Foundation repay Kik for paying                 5   Limited?
 6   Mr. Weatherman $5,000?                                  6       A. Yes.
 7      A. This is accrued in a promissory note as a         7       Q. Are those all app developers?
 8   loan to the foundation. That loan has not been          8       A. Yes.
 9   repaid.                                                 9       Q. And those are all included in the promissory
10      Q. Okay. On that same page directly above           10   note?
11   Mr. Weatherman is a -- is another payment on the       11       A. Correct.
12   same date for the same amount to Ryan Steubs. Is he    12       Q. If you go -- it's earlier in this document.
13   an app developer?                                      13   If you go to page 253.
14      A. I believe so.                                    14       A. I'm here.
15      Q. And I don't at all know how to pronounce his     15       Q. There is an October 15, 2018 payment to
16   app, but it's SXLVE; is that right?                    16   Perfect365 Inc.?
17      A. I believe so, yes.                               17       A. Yes.
18      Q. And he also won an award from the Kin            18       Q. That's an app developer, is it not?
19   Foundation?                                            19       A. Yes.
20      A. Yes.                                             20       Q. Is this included in the note from Kik -- the
21      Q. On that same page on the 17th,                   21   Kin Foundation to Kik?
22   Simon Partridge, is he an app developer?               22       A. Yes.
23      A. Yes.                                             23       Q. And if you turn to page 256.
24      Q. And both Mr. Steubs and Mr. Partridge, those     24       A. I'm here.
25   payments to them from Kik -- let me ask a better       25       Q. There's -- on November the 1st, 2018,
                           37                                                          39

 1   question.                                               1   there's a payment of $15,000 to Kinny Co Limited.
 2         The payments from Kik to Mr. Steubs and           2   Kinny is another app, is it not?
 3   Mr. Partridge, were those also included in the          3     A. It is.
 4   promissory note from the foundation?                    4     Q. And is this also included in the debt that
 5      A. Yes.                                              5   Kin Foundation owns -- owes to Kik?
 6      Q. If you look on the next page, there are           6     A. Yes.
 7   $5,000 payments to Jonathan Garsman and                 7     Q. If you turn to the next page, 257.
 8   Simon Howard --                                         8     A. Yep.
 9      A. Yes.                                              9     Q. There's a payment of $15,000 to
10      Q. -- on May the 30th. Are those also app           10   Oroboros LLC?
11   developers?                                            11     A. Yes.
12      A. Yes.                                             12     Q. That's an app developer, is it not?
13      Q. And those are also included in the               13     A. It is.
14   promissory note?                                       14     Q. That's Sam Dowd?
15      A. Yes.                                             15     A. Yes.
16      Q. Is there a running total of how much the Kin     16     Q. And also payments to This That Limited?
17   Foundation owes Kik Interactive?                       17     A. Yes.
18      A. Yes.                                             18     Q. Is that an app developer?
19      Q. If you turn to page 287.                         19     A. It is.
20      A. I'm here.                                        20     Q. And Life Slice Limited?
21      Q. On June the 14th there's a payment of $5,000     21     A. Yes. Also a developer.
22   to Simon Howard.                                       22     Q. Seeing Digital?
23      A. Yes.                                             23     A. Also a developer.
24      Q. Is Mr. Howard a app developer?                   24     Q. AJ Enterprises?
25      A. Yes.                                             25     A. Also a developer.

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 1      Q. Third Rock BVA -- BVBA?                          1      A. Yes.
 2      A. Also a developer.                                2      Q. Are similar payments being made, or were --
 3      Q. Matthew Valenty?                                 3   let me ask a better question.
 4      A. Also a developer.                                4         Were similar payments made from the TD
 5      Q. Appwise?                                         5   account?
 6      A. Also a developer.                                6      A. Not to my knowledge.
 7      Q. Smil3 Inc., with a "3" instead of an "e"?        7      Q. Okay. And are payments being made from the
 8      A. Also a developer.                                8   Your Neighborhood Credit Union account?
 9      Q. And those are all included in the debt that      9      A. No.
10   the Kin Foundation owes to Kik?                       10      Q. Does Kik hold any -- does Kik own any assets
11      A. Yes.                                            11   in the United States?
12      Q. And I just have one more of these. It's at      12      A. No.
13   the end. It's in the same month on 1126, so it's      13      Q. At present, what are Kik's monthly expenses?
14   just a few pages away.                                14      A. In this present month, February, we would
15      A. Yes.                                            15   expect the total expenses to be approximately
16      Q. Perfect365, we already established that was     16   $900,000. Going forward, that will be roughly
17   a developer; correct?                                 17   $650,000 in perpetuity.
18      A. Yes.                                            18      Q. What -- what accounts for the -- the delta?
19      Q. Okay. And that is part of the debt that the     19      A. There are some remaining severance
20   Kin Foundation owes to Kik; is that correct?          20   obligations based on a consolidation and
21      A. Correct.                                        21   restructure.
22      Q. What is the present amount of the debt that     22      Q. Okay. Are there any sort of large upcoming
23   Kin Foundation owes to Kik?                           23   expenses that Kik anticipates having?
24      A. There are two promissory notes, one for         24      A. No.
25   $268,000 and one for $175,000.                        25      Q. Does Kik anticipate any cash infusions or

                           41                                                         43

 1      Q. And do they sort of grow monthly the debt?       1   any capital-raising events?
 2      A. Those two promissory notes are their own,        2      A. No.
 3   and then there has been additional receivables from    3      Q. Is Kik trying to raise money?
 4   the foundation, but it's not been memorialized in a    4      A. No, not at present.
 5   promissory note.                                       5      Q. Given Kik's current cash position and
 6      Q. Okay. Are these notes secured in any way?        6   expenses, what is Kik's current financial runway?
 7      A. No.                                              7      A. Kik has 18 months of runway through
 8      Q. And I think you said that there have been --     8   June 2021 at current burn rate in cash.
 9   well, you said that there had been -- let me ask --    9      Q. Does Kik own any real estate?
10   let me just ask the question.                         10      A. No.
11         Have any payments been made on either of        11      Q. Does Kik own any intellectual property?
12   these notes?                                          12      A. Yes.
13      A. No.                                             13      Q. At a high level, what does Kik own? Well,
14      Q. Does Kik expect to receive any payments on      14   let me -- let me break it down.
15   either of these notes?                                15         Does Kik own any patents?
16      A. At some point, yes.                             16      A. Yes.
17      Q. What would be the point where that would        17      Q. About how many?
18   happen?                                               18      A. 38, to be specific.
19      A. At the time when it was deemed necessary for    19      Q. Okay. That's very specific.
20   Kik to call in those notes.                           20         Are those Canadian patents?
21      Q. But does the Kin Foundation have any cash?      21      A. Canadian and U.S. patents.
22      A. Not at present, to my knowledge.                22      Q. Okay. Does it own other intellectual
23      Q. Thank you.                                      23   property?
24         Are -- we've talked about a series of           24      A. Yes.
25   payments from Kik to app developers.                  25      Q. What is that?

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 1     A. It's intellectual property related to the          1   record.
 2   Kik Messenger app.                                      2          THE VIDEOGRAPHER: We're going off the
 3     Q. Okay. Which it sold?                               3   record. The time is 10:04 a.m. This marks the end
 4     A. It sold a nonexclusive license for the IP,         4   of media number 1.
 5   but it still owns the IP.                               5          (Off the record.)
 6     Q. I see.                                             6          THE VIDEOGRAPHER: We're back on the record.
 7          Other than the ether that we talked about,       7   The time is 10:20 a.m. This marks the beginning of
 8   does Kik own any other, for lack of a better word,      8   media number 2.
 9   cryptocurrency or digital currency?                     9          MR. SCHLEGELMILCH: Great.
10     A. Kik owns 3 trillion Kin.                          10   BY MR. SCHLEGELMILCH:
11     Q. Okay. But no other tokens?                        11      Q. Welcome back, Mr. Philp. I just have a
12     A. No.                                               12   couple followup questions on what we covered in the
13     Q. Does Kik have any large accounts receivable?      13   morning session, or the first session --
14     A. The two items in the accounts receivable          14      A. Before we begin, could I just make one
15   would be the outstanding payments from MediaLab, the   15   clarifying point?
16   seven payments of $450,000, as well as the two         16      Q. Please do.
17   promissory notes from the Kin Foundation.              17      A. Previously when I talked about the tax
18     Q. Are you able to provide a net worth of Kik        18   return, I mentioned that those were denoted in U.S.
19   today?                                                 19   dollars. It's actually Canadian dollars.
20     A. Its most recent valuation?                        20      Q. Thank you.
21     Q. Yes, sir.                                         21      A. I just wanted to clarify that.
22     A. Yes. $408 million. And that was as of             22      Q. Thank you very much. That's -- I appreciate
23   October 2018.                                          23   that. Great.
24     Q. 2018?                                             24          You mentioned that one of the items of
25     A. That was the last time the val- --                25   intellectual property that Kik owns is the

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 1      Q. I see.                                            1   intellectual property associated with the messaging
 2      A. -- the 409A was completed.                        2   app?
 3      Q. Thank you.                                        3      A. Correct.
 4           So that is the most current --                  4      Q. Do you -- does Kik have any plans to restart
 5      A. Valuation.                                        5   operations of the messaging app?
 6      Q. -- valuation?                                     6      A. At present, no.
 7      A. Yes.                                              7      Q. Okay. Does it have plans to -- to create
 8      Q. Thank you. That's helpful.                        8   another Messenger app?
 9           At a high level, what are Kik's liabilities     9      A. At present, no.
10   at present?                                            10      Q. Okay. And on the notes, the Kin Foundation
11      A. Kik has very few liabilities. The current        11   notes that we talked about earlier today --
12   liabilities would be any outstanding invoices, which   12      A. The promissory notes?
13   are typically cleared within a month. That would be    13      Q. Yes, sir.
14   approximately $2 million.                              14          -- is there a maturity date on those notes?
15      Q. Okay. Does Kik have any debt?                    15      A. No.
16      A. No.                                              16      Q. So there's no -- there's no due date?
17           MR. SCHLEGELMILCH: Okay. We have been          17      A. No.
18   going for about an hour. We've actually been making    18      Q. Is there an interest rate?
19   great progress. Would anyone mind if we took a         19      A. There's a 5 percent annual interest rate.
20   short break, a five-minute break, to use the rest      20      Q. Okay. You also mentioned earlier today that
21   room?                                                  21   Kik owns 3 trillion Kin tokens; is that correct?
22           THE WITNESS: Up to you.                        22      A. That is correct.
23           MR. GIBBS: That's fine with us.                23      Q. And it received those Kin tokens in
24           THE WITNESS: Great.                            24   September 2017 --
25           MR. SCHLEGELMILCH: Can we go off the           25      A. Correct.

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 1      Q. -- at the time of the token distribution         1      A. Yes.
 2   event?                                                 2      Q. Has Kik sold any of its tokens?
 3      A. That is correct.                                 3      A. No.
 4      Q. And of the 3 trillion tokens that Kik issued     4      Q. Let me ask a better question so the record's
 5   to itself, did Kik receive them all at once or         5   clear. Has Kik sold any of its Kin tokens?
 6   pursuant to a schedule?                                6      A. No.
 7      A. The tokens were issued through a smart           7      Q. Has Kik ever used them to collateralize any
 8   contract, and the smart contract had a vesting         8   debt?
 9   schedule, 10 periods, each vesting per quarter.        9      A. No.
10      Q. Have all of the Kin vested?                     10      Q. Has Kik sold any interest in its tokens?
11      A. No.                                             11      A. No.
12      Q. How many -- how much Kin has not yet vested?    12      Q. Are the tokens stored in a single wallet?
13      A. There is one more vesting period.               13      A. Yes.
14      Q. Okay. And how much will be vested at that       14      Q. Okay. What's the name of the service that
15   last vesting period?                                  15   holds the tokens?
16      A. Three hundred billion Kin. All vesting          16      A. It is a owned wallet by Kik Inc.
17   periods were equal amounts.                           17      Q. Okay.
18      Q. Okay. And is that vesting period -- will        18      A. A hard -- sorry -- a cold storage wallet.
19   that come at the end of this quarter, so the end of   19      Q. What is -- I'm a lawyer. I don't know
20   March?                                                20   anything. What is a cold storage wallet?
21      A. Yes.                                            21      A. It means that it is not active on an
22      Q. Okay. So by the end of March 2020, Kik          22   exchange or readily available through a single
23   will -- all of the Kin that Kik received in the       23   signer private key. So there is a multi-sig wallet,
24   token distribution event will be vested?              24   and it is not stored on the Internet.
25      A. Yes.                                            25         (Clarification requested by Reporter.)
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 1      Q. Okay. The tokens that Kik currently holds,       1          THE WITNESS: "Sig," short for "signature."
 2   are they ERC20 tokens?                                 2   BY MR. SCHLEGELMILCH:
 3      A. No.                                              3       Q. Between January 1st, 2018 and the present,
 4      Q. What are they?                                   4   has Kik purchased any Kin tokens?
 5      A. They are Kin tokens that run on the Kin          5       A. Yes.
 6   blockchain.                                            6       Q. When?
 7      Q. And that's a bespoke blockchain; correct?        7       A. Kik began purchasing Kin tokens in November
 8      A. It is a fork of Stellar.                         8   of 2019 and has done that as part of an employee
 9      Q. I see.                                           9   compensation program that was announced publicly.
10         When did Kik -- or let me ask it better.        10       Q. Okay. How many Kin tokens has Kik purchased
11         Did Kik exchange -- Kik did, though, receive    11   through that program that you just described?
12   ERC20 tokens in the token distribution event;         12       A. Kik purchases approximately 20,000 U.S.
13   correct?                                              13   dollars' worth of Kin tokens per month starting in
14      A. Kik received ERC20 Kin through that smart       14   November, so that's happened three times now, so
15   contract, yes.                                        15   approximately $60,000 of U.S. dollars' worth of Kin
16      Q. Okay. When did Kik exchange the ERC20 Kin       16   tokens and then based on the price of Kin at that
17   for the Stellar fork Kin?                             17   time. So I think that would be a hundred billion,
18      A. Kik has exchanged the vested Kin for the Kin    18   if I was to do quick math.
19   tokens on the Kin blockchain as of -- I believe it    19       Q. Okay. Does Kik expect to continue to
20   was July of 2019. And, just to clarify, the ERC20     20   purchase $20,000 U.S. worth of Kin tokens in the
21   tokens still do vest to Kik, and then they are        21   future every month?
22   converted at the time of the vesting.                 22       A. Yes.
23      Q. That was my next question. And the exchange     23       Q. For -- until when?
24   of ERC20 tokens to Kin blockchain tokens, was that    24       A. That is in perpetuity. It's part of the
25   on a one-for-one basis?                               25   employee compensation program.

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 1      Q. Okay. Is there anyone working at Kik's            1   was able to sell it; right?
 2   direction that purchased -- that has purchased Kin      2       A. That's correct.
 3   tokens?                                                 3       Q. But at this time in September of 2019, Kik
 4      A. Can you define what you mean by "at Kik's         4   had just planned to close it?
 5   direction"?                                             5       A. Yes.
 6      Q. Sure. Has Kik asked anyone or any entity to       6       Q. Did you read this before Mr. Livingston --
 7   purchase Kin tokens?                                    7   you personally -- did you personally read this
 8      A. No.                                               8   before Mr. Livingston published it?
 9      Q. Between January 1st, 2018 and the present,        9       A. Yes.
10   has Kik sold any Kin tokens?                           10       Q. Okay. If you look in the fourth paragraph,
11      A. No.                                              11   "While we are ready" --
12      Q. The tokens -- the Kin tokens that Kik            12       A. Yes.
13   purchases for the employee benefit plan --             13       Q. -- the "we" in that sentence, that's Kik, is
14      A. Yes.                                             14   it not?
15      Q. -- what does Kik do with the Kin tokens          15       A. Let me just read to get the full context on
16   after it purchases them?                               16   this.
17      A. Kik purchases the tokens and distributes         17       Q. Of course.
18   them to employees based on the compensation package.   18       A. Thanks.
19      Q. So directly into the employees' wallets?         19          Yes, I believe the "we" is referring to Kik
20      A. Yes.                                             20   Inc.
21      Q. What is Kik's plan for the Kin tokens it now     21       Q. Okay. Because, again, this is an
22   controls?                                              22   announcement that the Messenger app was closing?
23      A. Kik does not have an explicit plan for the       23       A. Correct.
24   Kin tokens. It would plan to monetize them, which      24       Q. Which Kik Inc. owns --
25   has been the Kin business model since the time Kin     25       A. Yes.

                           53                                                          55

 1   was launched.                                           1      Q. -- correct?
 2       Q. What do you mean by "monetize"?                  2          And Mr. Livingston announced three things.
 3       A. Monetize the Kin tokens would be selling Kin     3   He announced that they were going to -- that Kik was
 4   to fund operations. But the way in which those are      4   going to shut down the app; right?
 5   sold or to whom they are sold is to be determined.      5      A. Yes.
 6       Q. Okay. So it has no -- if I get this wrong,       6      Q. Kik was going to reduce its headcount to
 7   just let me know. It has no specific plan, but          7   19 people?
 8   it -- generally speaking, it plans to monetize the      8      A. Yes.
 9   tokens by selling them to fund operations?              9      Q. And that Kik was going to focus on
10       A. Yes.                                            10   converting -- on one thing, converting Kin users to
11          MR. SCHLEGELMILCH: Let me hand you what we      11   Kin buyers?
12   will mark as 264.                                      12      A. Yes.
13          (Exhibit 264 marked for identification.)        13      Q. If you look on the next page, at the bottom
14   BY MR. SCHLEGELMILCH:                                  14   of the second paragraph -- the second paragraph
15       Q. Have you seen this document before?             15   that -- well, the paragraph that begins, "But no
16       A. Yes.                                            16   matter what happens to Kik" --
17       Q. This is a Medium post that Mr. Livingston,      17      A. Yes.
18   Kik's CEO, posted on September 23rd, 2019; is that     18      Q. -- there is a line at the end that reads:
19   correct?                                               19          "And the Ecosystem is close to adding a
20       A. That's correct.                                 20          lot more firepower."
21       Q. Okay. And Mr. Livingston used this Medium       21          Do you see that?
22   post to announce the shutdown of Kik's Messenger       22      A. Yes.
23   app; is that right?                                    23      Q. What is that a reference to?
24       A. That's correct.                                 24      A. I can't speak to the specifics because it is
25       Q. And it turns out a couple weeks later Kik       25   relatively broad. My understanding, not as the

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 1   author of this, would be that it is talking about       1          (Exhibit 265 marked for identification.)
 2   the fact that more users are continuing to come into    2          THE WITNESS: You're getting better at that.
 3   the ecosystem over time, as we had seen the number      3          MR. SCHLEGELMILCH: Just -- just a little.
 4   of users earning and spending Kin had continued to      4   BY MR. SCHLEGELMILCH:
 5   increase and has increased since this blog post was     5      Q. So as you can see, this is not the executed
 6   published.                                              6   version. We don't have the executed version. We
 7      Q. Okay. On that same page Mr. Livingston lays       7   asked for the executed version in discovery, but
 8   out for Kik a three-part strategy; is that correct?     8   this is what we have.
 9      A. Yes.                                              9      A. Okay.
10      Q. And that Kik would be involved in moving the     10      Q. So have you seen a document that looks like
11   Kin blockchain forward to support a billion            11   this?
12   consumers making a dozen transactions a day with       12      A. Yes.
13   under one-second confirmation times?                   13      Q. Great. And it is titled "Services
14      A. Yes.                                             14   Agreement"?
15      Q. That Kik would take steps to accelerate the      15      A. Yes.
16   adoption, growth and success of all developers on      16      Q. Okay. What does the Services Agreement do?
17   the Kin ecosystem?                                     17      A. The Services Agreement speaks to the
18         MR. GIBBS: Objection to form.                    18   services that Kik Inc. would perform on behalf of
19         You can answer if you can.                       19   the Kin Foundation.
20         THE WITNESS: You're asking that these are        20      Q. Okay. And if you look on this exhibit,
21   what's on the page? Sorry.                             21   there's a Schedule A.
22   BY MR. SCHLEGELMILCH:                                  22      A. Yes.
23      Q. Yes, sir. This is what Mr. Livingston laid       23      Q. And, again, this is a -- this is a draft
24   out as a three-part strategy for Kik?                  24   agreement. I don't have the -- the signed one. Are
25      A. Yes. So I'm confirming what we're both           25   these the services -- and you can take a minute to

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 1   reading on the page.                                    1   read them over. Are these the services that Kik
 2      Q. Great.                                            2   today provides to the Kin Foundation?
 3         MR. GIBBS: Glad we've all convened to do          3      A. Kik provides ser- -- many of the services
 4   that.                                                   4   that are listed here in Schedule A.
 5   BY MR. SCHLEGELMILCH:                                   5      Q. Okay. Does any other entity, to Kik's
 6      Q. Does -- other than the debt that we've            6   knowledge, provide services to the Kin Foundation?
 7   talked about, does Kik have any contracts or other      7      A. Kik and myself are unaware of any other
 8   agree- -- written contracts -- does Kik have any        8   services agreements that the Foundation has, but I
 9   written agreements with the Kin Foundation?             9   can't speak to any other contractual obligations we
10      A. Just to confirm, we are not talking about        10   would have.
11   this document anymore; right?                          11      Q. Great.
12      Q. We are not.                                      12         Has the Kin Foundation ever made a payment
13      A. Okay. So the question was do we -- is --         13   to Kik for services provided pursuant to the
14   does Kik Inc. have any contractual relationship with   14   Services Agreement?
15   the Kin Foundation?                                    15      A. No.
16      Q. Correct.                                         16      Q. In the draft the Services Agreement has a
17      A. There is a services agreement between Kik        17   term --
18   Inc. and the Kin Foundation.                           18      A. Which page are we looking at?
19      Q. Okay. Is there an agency agreement?              19      Q. Sure. It's page 2.
20      A. I'm only aware of the services agreement.        20      A. Okay.
21      Q. Sure. Let me see if I can help.                  21      Q. In the draft the agreement lasts until
22         So I will hand you what was marked during        22   September 30, 2022. Is that the term of the
23   testimony as Exhibit 190.                              23   Services Agreement that was ultimately entered
24         MR. SCHLEGELMILCH: And we will mark it here      24   between Kik and the Kin Foundation?
25   as 265.                                                25      A. I do not know for sure if that is the date

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 1   that is in the executed version.                        1   sure what that means. And then under
 2      Q. Okay.                                             2   "Administration/Facilities," you explained why Kik
 3      A. But we can follow up on that.                     3   does not do that for Kin -- or for the Kin
 4          MR. SCHLEGELMILCH: Thank you.                    4   Foundation. Are there other things that you can
 5          I will now hand you what we will mark as         5   say --
 6   Exhibit 266 that was marked during the investigation    6      A. Are there specific things in here that you'd
 7   as Exhibit 191.                                         7   like to ask about?
 8          (Exhibit 266 marked for identification.)         8      Q. Yeah. The question is that Kik definitely
 9   BY MR. SCHLEGELMILCH:                                   9   does not do for the Kin Foundation. I suspect
10      Q. Again, this is a draft. We do not have           10   facility services are -- would be included in that
11   the -- an executed version of this.                    11   list.
12          Have you ever seen a document like this         12      A. I would also include, yes, facility
13   before?                                                13   services, space cleaning. There's been no
14      A. No.                                              14   collections, that I'm aware of. And then some of
15      Q. Do you know whether or not Kik executed an       15   these, again, are a little bit vague. So "decision
16   agency agreement with the Kin Foundation?              16   support," as an example, I'm not sure how that would
17      A. I do not know.                                   17   be defined so I can't speak to that specifically.
18      Q. Okay. If you don't know anything about it,       18      Q. Got you. Thank you.
19   I don't have any questions about it.                   19          Are you familiar with Mr. Mougayar?
20          Can you look back at the Services Agreement.    20      A. Yes.
21      A. Exhibit 265?                                     21      Q. Does Kik pay Mr. Mougayar?
22      Q. Yes, please.                                     22      A. The Kin Foundation pays Mr. Mougayar, but
23          You -- and, again, I'm not trying to            23   Kik administers that payment under the Services
24   misquote you. I'm just trying to bring you back to     24   Agreement.
25   your prior testimony. I think you said that Kik --     25      Q. Does Kik write Mr. Mougayar a check or wire

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 1   that Kik provides many of these services to the Kin     1   him money?
 2   Foundation?                                             2      A. The money comes from Kik's bank account but
 3      A. Yes.                                              3   is pursuant to the promissory note and the loan from
 4      Q. Are there -- and this may be the easiest way      4   the Kin Foundation.
 5   to do it. Are there services that Kik does not          5      Q. I see. So Kik pays him, and it gets sort of
 6   provide to the Kin Foundation?                          6   added to the -- the debt obligation that the Kin
 7      A. There are a couple of terms in here that are      7   Foundation has to Kik?
 8   vague, so I would not be able to speak to that          8      A. Yes.
 9   specifically, like "Senior management oversight."       9      Q. So is Kik currently paying Mr. Mougayar
10      Q. Okay.                                            10   $5,000 a month?
11      A. There's also no facilities for the Kin           11      A. I believe the Kin Foundation is paying
12   Foundation, so Kik does not do any leasehold issues,   12   Mr. Mougayar $5,000 a month, administered by Kik.
13   telephone support, or mailroom functions.              13      Q. Now I understand. Thank you.
14      Q. Okay. If you write a -- well, never mind.        14         And he had previously received $10,000 a
15         Well, let me ask it this way. If I wanted        15   month; is that correct?
16   to write a letter to the Kin Foundation, would I       16      A. I believe so.
17   address it to Kik?                                     17      Q. And is that -- is that denominated in
18      A. I believe it goes to the Kin Foundation's        18   Canadian or U.S. dollars?
19   lawyers, external counsel, which is BLG.               19      A. I am not certain which denomination that is,
20      Q. Okay.                                            20   but we can follow up.
21      A. I can't say for certain because I haven't        21      Q. What work -- well, never mind.
22   sent a letter there, but I believe that's where the    22         And Kik employees routinely attend Kin
23   mail goes.                                             23   Foundation board meetings; correct?
24      Q. So you've identified "senior management          24      A. Some Kik employees have attended the Kin
25   oversight" as being sort of vague, and so you're not   25   Foundation board meetings in the past, yes.

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 1      Q. Well, you personally, you attend Kin             1   Kik host?
 2   Foundation board meetings; correct?                    2      A. Two.
 3      A. Yes.                                             3      Q. Two.
 4      Q. Mr. Livingston does?                             4         Do they have a geographical location?
 5      A. Mr. Livingston attends the foundation board      5      A. They are both Amazon Web Services cloud
 6   meetings in his capacity as a foundation board         6   instances.
 7   member.                                                7      Q. Okay. How many nodes are there total?
 8      Q. Okay. What capacity do you attend in?            8      A. 11 nodes that confirm transactions. There's
 9      A. I attend the foundation board meetings under     9   also one or two observer nodes that we are aware of.
10   the Services Agreement because Kik is performing      10      Q. Okay. Of the nodes that Kik hosts, are
11   services, so I will typically be there at the         11   those -- are those nodes that confirm transactions,
12   request of the Kin Foundation.                        12   or are they observer nodes?
13      Q. Okay. And Ms. Lyon attends as secretary?        13      A. They are both part of the quorum that
14      A. Yes.                                            14   confirms transactions.
15      Q. Is there an agreement to compensate Ms. Lyon    15      Q. Okay. How much does it cost Kik to host a
16   for her work as secretary of the Kin Foundation?      16   Kin blockchain node?
17      A. No.                                             17      A. It's approximately 1500 U.S. dollars per
18      Q. Do you know the name Juan Llanos? I may         18   month per node.
19   be -- I'm probably mispronouncing it.                 19      Q. And just at a high level, what does a node
20      A. Very close.                                     20   do?
21      Q. "Llanos?"                                       21      A. A node stores data from the blockchain and
22      A. "Llanos."                                       22   confirms transactions that come through at regular
23      Q. "Llanos"?                                       23   intervals through blocks.
24      A. Yes. L-l-a-o- --                                24      Q. Does the foundation -- is it -- is Kik's
25      Q. Yeah, that's what I was --                      25   payment of the cost of operating the node part of

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 1      A. -- -n-o-s.                                       1   the Kin Foundation's obligation to repay?
 2          (Clarification requested by Reporter.)          2         That's a lousy question, but what I'm
 3          THE WITNESS: I actually -- I don't even         3   getting at is does this sort of -- is this sort of a
 4   know. L-l-a-n-o-s.                                     4   debt that accrues to the Foundation, that -- the
 5   BY MR. SCHLEGELMILCH:                                  5   expenses that Kin -- that Kik is incurring to host
 6      Q. Okay. Who's Mr. Llanos?                          6   the node?
 7      A. He was contracted by the Kin Foundation.         7     A. Your question is if the monthly costs
 8      Q. Okay. To do what, if you know?                   8   associated with Kik's two nodes are encompassed in
 9      A. He was contracted to facilitate                  9   the promissory note?
10   relationships with exchanges.                         10     Q. That is a much better way to ask what I
11      Q. Okay. And he was compensated for his work       11   should have asked.
12   through Kik's bank account; correct?                  12     A. No.
13      A. Mr. Llanos was compensated by the               13     Q. Okay. We talked earlier today about the
14   foundation, and it was administered by Kik, and the   14   migration of the ERC20 token to the Kin blockchain;
15   money came from Kik's bank account. He was also       15   correct?
16   compensated in Kin, which came from the foundation.   16     A. Yes.
17      Q. Okay. And that was from the Silvergate          17     Q. When did that occur?
18   account; correct?                                     18     A. That process kicked off in May of 2019, I
19      A. Yes.                                            19   believe.
20      Q. Does Kik currently host a node for the Kin      20     Q. And it's ongoing?
21   blockchain?                                           21     A. Yes.
22      A. Yes.                                            22     Q. Is there an end date?
23      Q. Does it host more than one?                     23     A. There's no way to confirm an end date.
24      A. Yes.                                            24   Anyone that owns ERC20 Kin can choose to move to the
25      Q. How many -- how many nodes does Kin -- does     25   new block chain or can continue on the Ethereum

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 1   blockchain, so it is -- no one can say for certain      1   Engine that is run by the Kin Foundation.
 2   when that migration would finish.                       2      Q. Okay. And, specifically, this document was
 3      Q. Is there going to be a point in time where        3   a -- a proposed change to the Kin Reward Engine that
 4   Kik or Kin or somebody will stop supporting the         4   Kik Interactive submitted --
 5   ERC20 token?                                            5      A. Yes.
 6      A. No, that would be impossible.                     6      Q. -- is that correct?
 7      Q. Okay.                                             7          Okay. Did any -- do you know whether or not
 8      A. It's an ERC20 token, so as long as the            8   anyone else submitted any proposals to the Kin
 9   Ethereum blockchain continues to operate, that token    9   Reward Engine?
10   will continue to operate.                              10      A. Yes, there have been.
11      Q. Okay. What role, if any, did Kik have in         11      Q. Okay. What about during this -- my
12   the creation of the Kik blockchain?                    12   understanding is that there was a recent upgrade or
13      A. Kik was one of the leading developers that       13   update to the Kin Reward Engine that, I think, went
14   created the Kin blockchain in collaboration with the   14   live January 1st, 2020; is that correct?
15   Stellar Foundation, who wrote most of the source       15      A. Yes. There's been two updates to the Kin
16   code that was used for the Kin blockchain.             16   Rewards Engine. One went live in December. I
17      Q. Did Stellar participate in this effort at        17   believe it was December 18th.
18   the same time that Kik did?                            18      Q. Okay.
19      A. Yes, there was collaboration.                    19      A. That was based on the proposal KRE v1.1.
20      Q. Okay.                                            20   And then KRE 2.0 was the second proposal that was
21      A. There were also employees of another company     21   adopted in -- January 1st, 2020.
22   in Israel called "Orbs" that contributed too.          22      Q. Okay. Is Kik Interactive's proposal the one
23      Q. Okay. So it was Kik, Orbs and Stellar?           23   that was adopted most recently?
24      A. Yes.                                             24      A. The proposal that was adopted was initially
25      Q. How many -- approximately how many Kik           25   put forth by Kik Interactive. There was a number of

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 1   employees were -- were working on -- on the             1   comments and, I'll call it, sub-proposals from other
 2   development of the Stellar blockchain?                  2   people in the community for improvements to this,
 3      A. There were approximately 15 employees of Kik      3   which was then iterated on and then went forward.
 4   that were working on the development of the Stellar     4   So, yes, Kik Interactive is the proposer here, but
 5   fork.                                                   5   it had input from a lot of other people that are not
 6      Q. And were these Kik employees located in           6   employed by Kik Interactive Inc.
 7   Israel?                                                 7       Q. Great.
 8      A. Yes.                                              8       A. There's also been a subsequent proposal that
 9      Q. All of them?                                      9   has came through, not yet adopted, from someone in
10      A. Yes.                                             10   the Kin community that is not employed by Kik
11         MR. SCHLEGELMILCH: I will hand you what          11   Interactive Inc. I just wanted to say --
12   we'll mark as 267.                                     12   BY MR. SCHLEGELMILCH:
13         (Exhibit 267 marked for identification.)         13       Q. Do you know who that person is?
14         THE WITNESS: Thank you.                          14       A. I know what their GitHub handle is. I don't
15   BY MR. SCHLEGELMILCH:                                  15   know who that person is individually.
16      Q. Have you ever seen this before?                  16       Q. What is their GitHub handle?
17      A. Yes.                                             17       A. It is --
18      Q. What is this?                                    18       Q. You offered.
19      A. This is the public GitHub repository for the     19       A. I know. I'm trying to remember the spelling
20   Kin Rewards Engine.                                    20   now. You can go on the GitHub repository and find
21      Q. Okay. What is the public GitHub repository?      21   it. But it is A-s-p-a-r-g-u-s-m, I believe.
22      A. The public GitHub repository is a repository     22       Q. Of course it is.
23   of open source code, some of which pertains to SDKs    23       A. I know. It's well-written; the proposal,
24   and the blockchain. And this is another branch of      24   not the user name.
25   that public GitHub that talks about the Kin Rewards    25       Q. All right.

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 1       A. I'd recommend checking it out.                   1          Have you seen this document before?
 2       Q. I shall.                                         2      A. Yes.
 3          MR. SCHLEGELMILCH: Here's the thing. If we       3      Q. What is this document?
 4   are able to go off the record...                        4      A. This is a Services Agreement between the Kin
 5          THE VIDEOGRAPHER: We are going off the           5   Foundation and Kik Interactive Inc.
 6   record. The time is 10:56 a.m. This marks the end       6      Q. Great. And if you look on -- it is not
 7   of media number 2.                                      7   paginated, but if you -- there is a signature page
 8          (Off the record.)                                8   close to the end.
 9          THE VIDEOGRAPHER: We are back on the             9      A. Yes. Page 7, if we were to have a page.
10   record. The time is 11:31 a.m. This marks the          10      Q. And Mr. Livingston signed for the Ecosystem,
11   beginning of media number 3.                           11   the --
12          MR. SCHLEGELMILCH: Great.                       12      A. Yes.
13   BY MR. SCHLEGELMILCH:                                  13      Q. -- Kin Foundation.
14       Q. One followup question from this morning's       14          And Mr. Brunet signed for Kik Interactive?
15   discussion about the Wallet app that Kik is working    15      A. Yes.
16   on.                                                    16      Q. And he -- it says that he's the Controller.
17       A. Yes.                                            17   Is that -- is that accurate?
18       Q. Would that app generate revenue to Kik? Is      18      A. His title now is Head of Finance, but at the
19   it anticipated that that app would be a                19   time it was Controller.
20   revenue-generator?                                     20      Q. Okay. And he's still with the company?
21       A. At present there's no specific plans for        21      A. Yes.
22   revenue generation within the app.                     22      Q. If you look on the first page of the
23       Q. Okay. Does Kik otherwise have plans to earn     23   agreement, it says that it's dated the 18th of
24   revenue in the future?                                 24   September, 2018. Do you see that?
25       A. There's no specific revenue plans for Kik --    25      A. Yes.

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 1      Q. Okay.                                             1      Q. Did Kik provide services to the Kin
 2      A. -- aside from monetization of the Kin that        2   Foundation prior to September 18th, 2018?
 3   it owns.                                                3      A. Kik provided services to the Kin Foundation
 4         MR. SCHLEGELMILCH: Okay. During the break,        4   starting September 12th, 2017, which is also noted
 5   counsel handed me the final executed version of both    5   on this document as the legal effect from this
 6   the Services Agreement and the Agency Agreement,        6   date -- from this document.
 7   which I'll mark, and we can talk about them.            7      Q. Okay. So what is -- is there a significance
 8         And thank you, Counsel.                           8   of September 12th, 2017? What happened on that
 9         MR. GIBBS: While you're doing that, I -- it       9   date?
10   probably makes sense for us to ultimately produce to   10      A. That is the time -- that is date that Kin
11   you Bates-labeled copies. These will be marked for     11   was created in the smart contract.
12   now, obviously, but we might as well have a            12      Q. Okay. Is that -- and maybe -- maybe I'm
13   Bates-labeled version copy --                          13   wrong. Is that the date that the Kin Foundation was
14         MR. SCHLEGELMILCH: Please do.                    14   incorporated?
15         MR. GIBBS: -- in a day or two.                   15      A. I believe the Kin Foundation was
16         (Exhibit 268 marked for identification.)         16   incorporated on September 11th, 2017.
17   BY MR. SCHLEGELMILCH:                                  17      Q. Okay. If you look still on the first page
18      Q. Let me hand you Exhibit 268, the Services        18   under "Service Fees," 2.2.
19   Agreement. Somehow we lost one, but...                 19      A. Yes.
20         MR. MENDEL: Do you have one?                     20      Q. It indicates that "...the foundation shall
21         MR. SCHLEGELMILCH: I have one. I have one.       21   pay Kik such fees as invoiced by Kik from time to
22   Okay. No, I have one.                                  22   time." Do you see that?
23         MR. MENDEL: Okay.                                23      A. Yes.
24   BY MR. SCHLEGELMILCH:                                  24      Q. Has Kik ever invoiced the foundation?
25      Q. Okay. What did I do with it? Oh. 268.            25      A. The -- Kik has only executed the two

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 1   promissory notes with the Kin Foundation, so outside    1   memorializing the activities that were happening
 2   of those, there's been no invoices.                     2   under what's contemplated in the Services Agreement
 3      Q. Okay. And as I understand from your prior         3   and the Agency Agreement. Those were ultimately
 4   testimony, the promissory notes were for money that     4   executed at this time. It was mostly a -- an
 5   Kik sent to app developers and -- and other             5   operational thing of going through drafts.
 6   individuals --                                          6         One thing I will note is this Agency
 7      A. Cash expenses.                                    7   Agreement was ultimately cancelled approximately one
 8      Q. Cash expenses.                                    8   month later because it was felt that it was
 9      A. Yes.                                              9   redundant with the Services Agreement because
10      Q. So for services is it fair to say that Kik       10   everything was captured in the Services Agreement.
11   has never invoiced the foundation?                     11     Q. Okay. Okay. So -- okay. Just for the
12      A. That's fair.                                     12   record, this Agency Agreement, if you look there, it
13      Q. And if you look at Exhibit -- Schedule A,        13   was signed; right?
14   which is right after the signature page.               14     A. Yes.
15      A. Yes.                                             15     Q. This version of it was signed by
16      Q. And just take a minute to con- -- confirm.       16   Mr. Livingston for the Foundation and Mr. Brunet,
17   These are the services that Kik will provide to the    17   again, for Kik Interactive?
18   Kin Foundation pursuant to the Services Agreement;     18     A. Yes.
19   is that correct?                                       19     Q. Okay. And it's your testimony that this was
20      A. Yes. These are all the services                  20   cancelled a month later?
21   contemplated in the Services Agreement. Per my         21     A. Yes.
22   comment previously on the other document, there are    22     Q. So my last question was going to be -- if
23   some that Kik has not been providing.                  23   you look on page 3 --
24      Q. They just don't make sense --                    24     A. Yes.
25      A. Yes.                                             25     Q. -- Section 7.1 --

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 1       Q. -- because the Kin Foundation doesn't have       1      A. Yes.
 2   a --                                                    2      Q. -- my question was -- this -- this indicates
 3       A. Facilities.                                      3   that the principal, the Foundation, shall pay the
 4       Q. Right. Okay.                                     4   agent, Kik, an annual agency fee equal to $100,000
 5           MR. SCHLEGELMILCH: Let me hand you what         5   U.S. dollars. And my question was: Has -- has that
 6   we'll mark as 269.                                      6   ever been paid?
 7           Sorry.                                          7      A. No.
 8           (Exhibit 269 marked for identification.)        8      Q. And the reason being?
 9   BY MR. SCHLEGELMILCH:                                   9      A. That this document was cancelled a month
10       Q. And you have seen this document before?         10   later.
11       A. Yes.                                            11      Q. That's what I thought.
12       Q. What is it?                                     12          But the Services Agreement is still in
13       A. This is an agency agreement between the Kin     13   effect?
14   Foundation and Kik Interactive Inc.                    14      A. Yes.
15       Q. Okay. And it's dated October 10th of 2018?      15          MR. SCHLEGELMILCH: Okay. That's all I got.
16       A. That's correct.                                 16   I pass the witness.
17       Q. But as with the other agreement, it's --        17          MR. GIBBS: No questions.
18   it's intended to be retroactive to September 12th,     18          MR. SCHLEGELMILCH: We can go off the
19   2017?                                                  19   record.
20       A. Correct.                                        20          THE VIDEOGRAPHER: This concludes today's
21       Q. Okay. What happened, if anything, in            21   deposition of Tanner Philp. The master media of
22   September or October 2018 or previously that sort of   22   today's deposition will remain in the custody of
23   caused Kin -- the Kin Foundation and Kik to want to    23   Gradillas Court Reporters. The time is 11:39 a.m.
24   memorialize these -- these agreements?                 24   We are now off the record.
25       A. There had been discussions ongoing about        25          (Ending time: 11:39 a.m.)

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 1          I, JANIS JENNINGS, CSR No. 3942, Certified           1             ERRATA SHEET
                                                                 2 Deposition of: TANNER PHILP
 2   Shorthand Reporter, certify:                                  Date taken: February 5, 2020
                                                                 3 Case: SEC vs. KIK INTERACTIVE INC.
 3           That the foregoing proceedings were taken             PAGE LINE
 4   before me at the time and place therein set forth, at       4 ____ ____ CHANGE: __________________________________
                                                                          REASON: __________________________________
 5   which time the witness was duly sworn by me;                5
 6           That the testimony of the witness, the                ____ ____ CHANGE: __________________________________
                                                                 6        REASON: __________________________________
 7   questions propounded, and all objections and statements     7 ____ ____ CHANGE: __________________________________
                                                                          REASON: __________________________________
 8   made at the time of the examination were recorded           8
 9   stenographically by me and were thereafter transcribed;       ____ ____ CHANGE: __________________________________
                                                                 9        REASON: __________________________________
10           That the foregoing pages contain a full, true      10 ____ ____ CHANGE: __________________________________
                                                                          REASON: __________________________________
11   and accurate record of all proceedings and testimony.      11
12          Pursuant to F.R.C.P. 30(e)(2) before                   ____ ____ CHANGE: __________________________________
                                                                12        REASON: __________________________________
13   completion of the proceedings, review of the transcript    13 ____ ____ CHANGE: __________________________________
14   [ ] was [X] was not requested.                                       REASON: __________________________________
                                                                14
15           I further certify that I am not a relative or         ____ ____ CHANGE: __________________________________
                                                                15        REASON: __________________________________
16   employee of any attorney of the parties, nor financially   16 ____ ____ CHANGE: __________________________________
17   interested in the action.                                            REASON: __________________________________
                                                                17
18          I declare under penalty of perjury under the           ____ ____ CHANGE: __________________________________
                                                                18        REASON: __________________________________
19   laws of California that the foregoing is true and          19 ____ ____ CHANGE: __________________________________
20   correct.                                                             REASON: __________________________________
                                                                20
21          Dated this 11th day of February 2020.                  ____ ____ CHANGE: __________________________________
22                                                              21        REASON: __________________________________
                                                                22 ____ ____ CHANGE: __________________________________
23                                                                        REASON: __________________________________
                                                                23
24            JANIS JENNINGS, CSR NO. 3942                      24
25            CLR, CCRR                                            Signed ________________________
                                                                25 Dated ________________________

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 1      WITNESS DECLARATION AND ERRATA SHEET
 2
 3
 4   Gradillas Court Reporters Assignment No. 200205JJE
 5   Case Caption: Securities & Exchange Commission vs.
 6            Kik Interactive, Inc.
 7
 8
 9          DECLARATION UNDER PENALTY OF PERJURY
10           I declare under penalty of perjury
11   that I have read the entire transcript of my
12   Deposition taken in the captioned matter or the
13   same has been read to me, and the same is true
14   and accurate, save and except for changes and/or
15   corrections, if any, as indicated by me on the
16   DEPOSITION ERRATA SHEET hereof, with the
17   understanding that I offer these changes as if
18   still under oath.
19
20   Signed on the ______ day of _____________, 20___.
21
22   ___________________________________
23   TANNER PHILP
24
25

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